Case 22-31641-mvl7         Doc 459-2 Filed 12/06/23 Entered 12/06/23 11:51:16                                Desc
                                   Exhibit B Page 1 of 5




                                       SECURITY AGREEMENT

            This SECURITY AGREEMENT, dated                 as   of January 21, 2022 (as amended,
     supplemented or otherwise modified from time to time in accordance with the provisions
     hereof, this "Agreement"), is made by American Metals Recovery and Recycling Inc.,, a
     Texas corporation ("Grantor"), in favor of GNET ATC INC., a Texas corporation, as Secured
     Party (in such capacity, together with its successors in such capacity, “Secured Party’).
                                               RECITALS
            WHEREAS, Grantor and the “Secured Party” have entered into that certain
     promissory note (the “Note”); and
             WHEREAS, under the terms of this Agreement, Grantor desires to grant to the Secured
     Party a security interest in the Collateral, as defined herein, to secure any and all Secured
     Obligations, as defined herein.
            NOW THEREFORE, in consideration of the mutual covenants, terms and conditions
                                 good and valuable consideration, the receipt and sufficiency of
     set forth herein, and for other
     which are hereby acknowledged, the parties agree as follows:

              1.      DEFINITIONS. All capitalized terms used herein without definitions shall have
     the respective meanings set forth in the Note. Unless otherwise defined herein, terms used
     herein that are defined in the Uniform Commercial Code as in effect from time to time in the
     State of Texas (the "UCC") shall have the meanings assigned to them in the UCC. However,
     if a term is defined in Article 9 of the UCC differently than in another Article of the UCC, the
     term has the meaning specified in Article 9.


            Les     GRANT OF SECURITY INTEREST.

                  (a)    For value received, Grantor hereby grants to Secured Party, to secure the
            payment and performance in full of all of the Secured Obligations (as defined in this
            Agreement), a security interest in and pledges and assigns to Secured Party all of
            Grantor’s right, title and interest in and to all of Grantor’s properties, assets, and rights,
            wherever located, whether Grantor now has or hereafter acquires an ownership or other
            interest or power to transfer, and all proceeds and products thereof, and all books and
            records relating thereto (the definition of Collateral specifically excludes all securities
            or shares of Grantor as well asany securities or shares that Grantor hereafter acquires
            in the ordinary course of business) (all of the same being hereinafter called the
            "Collateral"), including, without limitation: all personal and fixture property of every
            kind and nature including all        goods (including inventory, equipment,     and any
            accessions thereto), instruments (including      promissorynotes),  documents  (whether
            tangible or electronic), accounts, all of Grantor's accounts receivable, including any
            accounts receivable acquired by Grantor from a third party, evidencing any right to
            payment for goods sold or leased or for services rendered, now existing or subsequently
            acquired, and the proceeds of the accounts receivable, including all goods returned to
            or repossessed by Grantor and all claims of Grantor against common carriers for goods
            lost or damaged in transit, chattel paper (whether tangible or electronic), money, deposit
            accounts, letters of credit, letter-of-credit rights (whether or not the letter of credit is
            evidenced by a writing), commercial tort claims described on Schedule 1 hereof as
            supplemented by any written notification given by Grantor to Secured Party, securities
            and all other investment property, supporting obligations, and other contracts rights or

                                                                                                              Trustee's
                                                                                                               Ex. B



                                           CONFIDENTIAL                                                        FRINZI 00458
Case 22-31641-mvl7         Doc 459-2 Filed 12/06/23 Entered 12/06/23 11:51:16                              Desc
                                   Exhibit B Page 2 of 5




             rights to the payment of money, insurance claims and proceeds, tort claims, and all
             general intangibles (including all payment intangibles).
                     (b)    ‘If Grantor shall at any time hold or   acquire  a commercial tort claim,
             Grantor shall immediately notify Secured Party in writing of the details thereof and
             grant to Secured Party in such writing, in form and substance     satisfactory
                                                                                          to Secured
             Party, asecurity  interest therein and in the proceeds thereof.

            3.       SECURED OBLIGATIONS. This Agreement secures the prompt and full
     performance and payment of all of the indebtedness, obligations, liabilities, and undertakings
     of Grantor to the Secured Party, of any kind or description, individually or collectively, whether
     direct or indirect, joint or several, absolute or contingent, due or to become due, voluntary or
     involuntary, now existing or hereafter arising (including, all interest, fees (including reasonable
     attorneys’ fees), costs, and expenses that Grantor is hereby or otherwise required to pay and
     perform pursuant to the Note, this Agreement, or any other documents, by law or otherwise
     accruing before and after the filing of any petition in bankruptcy or the commencement of any
     insolvency, reorganization or like proceeding relating to Grantor, whether or not a claim for
     post-petition interest, fees or expenses is allowed in such proceeding), irrespective of whether
     for the payment of money, under or in respect of the Intercreditor Agreement, the Notes, this
     Agreement, or any other documents, including instruments or agreements executed and
     delivered pursuant thereto or in connection therewith (the "Secured Obligations").

            4.      CHANGES IN LOCATION OF COLLATERAL. Grantor hereby agrees to
     notify Secured Party, in writing or via electronic communication, within five (5) business days
     upon any change in the location of any Collateral and provide Secured Party with the new
     location of such Collateral.

            5.       CHANGES IN GRANTOR. Grantor hereby agrees to notify Secured Party, in
     writing or via electronic communication, at least fifteen (15) days before any of the following
     actions: (a) change in the location of Grantor's place of business; (b) change in Grantor's name;
     (c) change in Grantor's type of organization; (d) change in Grantor's jurisdiction of
     organization; and (e) change in Grantor's corporate structure.
            6.      GRANTOR REPRESENTATIONS AND WARRANTIES. Grantor hereby
     represents, warrants, and covenants that: this Agreement creates in favor of Secured Party a
     valid security interest in the Collateral, securing payment of the Secured Obligations, and such
     security interest is first priority. Grantor will defend the Collateral against all claims and
     demands made by all! persons claiming either the Collateral or any interest in it.

             7.      GRANTOR COVENANTS AND INSURANCE, Grantor hereby grants to
      Secured Party the right to enter Grantor's property to inspect the Collateral at any reasonable
     time, provided that Secured Party gives Grantor notice within five (5) days of any inspection,
     however in no case shall notice be required if Secured Party enters Grantor's property for the
     purposes of remedying a breach of this Agreement as provided in Section 10 of this Agreement.
     Grantor agrees to: (a) maintain the Collateral in good order, repair, and condition at all times,
     provided, however, reasonable wear and tear shall not be deemed a defect or non-conformance
     under this provision or any relevant provision of this Agreement; (b) timely pay all taxes,
     judgments, levies, fees, or charges of any kind levied or assessed on the Collateral; (c) timely
     pay all rent or mortgage payments of any kind as applicable to any real property upon which
     any part of the Collateral is located; and (d) have and maintain at all times a hazard insurance
     policy on the Collateral underwritten by an insurance company, and in an amount, approved




                                           CONFIDENTIAL                                                      FRINZI 00459
Case 22-31641-mvl7         Doc 459-2 Filed 12/06/23 Entered 12/06/23 11:51:16                             Desc
                                   Exhibit B Page 3 of 5




     by Secured Party, but in no way shall the amount of insurance be less than the replacement cost
     of the Collateral. Grantor hereby assigns to Secured Party all rights to any proceeds of any
     insurance procured under this Section, and authorizes Secured Party to receive such payments
     and execute any and all documents required to receive such payments. If Grantor fails to
     provide for the insurance as set out in this Section, Secured Party, in addition to any remedies
     as set out in this Agreement, may procure the requisite insurance on the Collateral on its own
     behalf and charge Grantor with any and all costs of such procurement.

               8.    PERFECTION OF SECURITY INTEREST. Grantor agrees that at any time
     and from time to time, at the expense of Grantor, Grantor will promptly execute and deliver all
     further instruments and documents, obtain such agreements from third parties, and take all
     further action, that may be necessary or desirable, or that the Secured Party may request, in
     order to create and/or maintain the validity, perfection or  priority
                                                                        of and protect any security
     interest granted or purported to be granted hereby or to enable the Secured Party to exercise
     and enforce their rights and remedies hereunder or under any other agreement with respect to
     any Collateral. Grantor hereby authorizes Secured Party to file or record any document
     necessary to perfect, continue, amend, or terminate its security interest in the Collateral,
     including, but not limited to, any financing statements, including amendments, authorized to
     be filed under the UCC, without signature of Grantor where permitted   by    law, including the
     filing of a financing statement describing the Collateral as all assets now owned or hereafter
     acquired by Grantor, or words of similar effect. Grantor also hereby ratifies any      previously
     filed documents or recordings regarding the Collateral, including but not limited to, any and all
     previously filed financing statements.
               9.  REMEDIES. If an Event of Default shall have occurred and be continuing,
     Secured Party may do any or all of the following: (a) declare all Secured Obligations
     immediately  due and  payable;(b) enter Grantor's property where the Collateral is located and
     take possession of the Collateral without demand or legal process; (c) require Grantor to
     assemble and make available the Collateral at a specific time and place designated by Secured
     Party; (d) sell, lease, or otherwise dispose of the Collateral at any public or private sale in
     accordance with the law; and (e) enforce payment of the Secured Obligations and exercise any
     rights and remedies available to the Secured Party under law, including, but not limited to,
     those rights and remedies available to the Secured Party under Article 9 of the UCC. Unless
     the Collateral is perishable or threatens to decline speedily in value or is of a type customarily
     sold on a recognized market, the Secured Party shall give to the Grantor at least ten (10) days’
     prior written notice of the time and place of any public sale of Collateral or of the time after
     which any private sale or any other intended disposition is to be made. The Grantor hereby
     acknowledges that ten (10) days’ prior written notice of such sale or sales shall be reasonable
     notice.


              10. SECURED PARTY RIGHTS. No delay, omission, or failure on the part of any
     Secured Party to exercise or enforce any of its rights or remedies, either granted under this
     Agreement or by law, shall constitute an estoppel or waiver of such right or remedy or any
     other right or remedy. Any and all rights of the Secured Party provided by this Agreement shall
     inure to the benefit of its successors and assigns.

             11. SEVERABILITY AND MODIFICATION. If any of the provisions in this
     Agreement is determined to be invalid, illegal, or unenforceable, such determination shal! not
     affect the validity, legality, or enforceability of the other provisions in this Agreement. No
     waiver, modification or amendment of, or any other change to, this Agreement will be effective
     unless done so in a separate writing signed by Secured Party.

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                                           CONFIDENTIAL                                                     FRINZI 00460
Case 22-31641-mvl7        Doc 459-2 Filed 12/06/23 Entered 12/06/23 11:51:16                            Desc
                                  Exhibit B Page 4 of 5




            12.     NOTICES. Any notice or other communication required or permitted to be
     given under this Agreement, including, without limitation, notices under this Agreement, shall
     be given and shall become effective upon written notice to the addresses listed in the Secured
     Promissory Note between the Parties.
            13.     ENTIRE AGREEMENT. This Agreement             (including all documents referred to
     herein) represents the entire agreement between the parties, and supersedes all previous
     understandings and agreements, whether oral or written, regarding the subject matter hereof.
            14.     JURISDICTION. This Agreement will be interpreted and construed according
     to the laws of the State of Texas,   including, but not limited to, the UCC, without regard to
     choice-of-law rules in any jurisdiction.

            15.     COUNTERPARTS. This Agreement may be executed by the parties hereto in
     counterparts, each of which when so executed and delivered shall be deemed an original for all
     purposes, but al{ such counterparts shall together constitute one and the same instrument.
            16.

                                          [Signature page follows.]




                                           CONFIDENTIAL                                                   FRINZI 00461
Case 22-31641-mvl7           Doc 459-2 Filed 12/06/23 Entered 12/06/23 11:51:16                   Desc
                                     Exhibit B Page 5 of 5




             IN WITNESS WHEREOF, the undersigned Grantor and Secured Party have executed
     this Security Agreement as of the date first above written.


                                                    GRANTOR:
                                                    American Metals Recovery and      Recycling
                                                    Inc.
                                                                            pe
                                                                            Lo
                                                    By:       ef
                                                                   Z
                                                    Name:              James Frinzi
                                                            CEO




     ACCEPTED AND AGREED
     as of the date first above written:


     GNET ATC INC., as Secured Party


                                JAP
                                           ey
                     fa;




     Name:         James Goodman
     Title:   Chairman




                                                CONFIDENTIAL                                        FRINZI 00462
